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                Exhibit 2
Our Team | OQSIE                                                                     https://oqsie.com/our-team
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